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		OSCN Found Document:IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2018 OK 48Case Number: SCBD-6511Decided: 06/11/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 48, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2016




ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an application for an Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2001, ch. 1, app. 1-B, for the year 2016.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on May 30, 2017, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2016. Based on its application, this Court finds that the Board of Governors determined at their May 18, 2018, meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order. Further, the Board of Governors declared that the members set out on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on May 30, 2018. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on May 30, 2018, for failure to comply with the Rules for mandatory Continuing Legal Education for the year 2016.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 11TH DAY OF JUNE, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




&nbsp;


EXHIBIT A
(MCLE - STRIKE)


Marc S. Albert, OBA No. 32287
14 Brook Lane
Brookville, NY 11545

Daniel Allen Arnett, OBA No. 30359
421 Nantucket Blvd.
Norman, OK 73071

Joseph Bradley Ayo, OBA No. 31458
1841 Portsmouth St.
Houston, TX 77098

Jacqueline Cronkhite Dodd, OBA No. 30851
17 N. 6th St.
PO Box 1526
Fort Smith, AR 72902-1526

Kristin Foster, OBA No. 30078
1080 Bergen Street, No. 188
Brooklyn, NY 11216

Sara Ruth Garrett, OBA No. 31907
129 E. 46th St., Apt. 5
Kansas City, MO 64112

Ryan Patrick Goodwin, OBA No. 32403
1814 E. 72nd St., Apt. 1615
Tulsa, OK 74136

Martha Lynne Hyde, OBA No. 31102
7854 South 69 East Ave.
Tulsa, OK 74133

Ryan Andrew Kuzmic, OBA No. 32249
1722 S. Carson Ave., Apt. 2207
Tulsa, OK 74119

Scott Ford McKinney, OBA No. 16692
12216 Banyan Lane
Oklahoma City, OK 73162

Jay Patrick Moisant, OBA No. 19682
14453 S.E. 29th Street, Suite B
Choctaw, OK 73020

Bridget Elizabeth Rains, OBA No. 31691
101 Darwin Rd.
Edmond, OK 73034

Nicholas J. Stockdale, OBA No. 31429
2433 N.W. 54th St.
Oklahoma City, OK 73112





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